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lN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF NORTH CAROLNA APR 1 3 2000
U. S. DlSTR|CT COURT

DANIEL E. MONAHAN, ) W_ D|ST_ OF N_ C_
Plaintiff, )
)
) Civil Action No. j 00 C' l//é 7,%/[/`/{/
vs. )
)
)
DUKE ENERGY CORPORATION, )
t/d/b/a DUKE ENGINEERING & ) IURY TRIAL DEMANDED
SERVICES, )
Defendant. )
COMPLAINT IN CIVIL ACTION

 

AND NOW, comes the Plaintiff, Daniel E. Monahan, pro se, and respectfully avers as
follows:

l. The Plaintiff, Daniel E. Monahan, is an adult individual born August lO, 1944, Who
resides at 2200 Woodlawn Street, Kannapolis, NC 28083.

2. The Defendant, Duke Energy Corporation, t/d/b/a/ Duke Engineering & Services, is
known to have a principal place of business at 400 South Tryon Street, Charlotte, NC 28285.

3_ This Court has jurisdiction over these claims pursuant to 28 U.S.C. Section 1331, the
Age Discrimination in Employment Act (ADEA), 29 U.S.C. Section 621, et seq., 626(c); the
Employment Retirement Income Security Act (ERISA) 29 U.S.C. Section lOOl, et seq.,
1032(0); and the Fair Labor Standards Act, (FLSA) 29 U.S.C` section 201, et seq_

4. The Defendant is, and at all times material to the Complaint has been, an employer in
an industry affecting commerce within the meeting of the ADEA 29 U.S.C. Section 63 O(b); the

ERISA 29 U.S.C. Section 1002(12); and the FLSA U.S.C. Section 203(b).

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5. Plaintiff was employed by the Defendant from 1980 to June 9, 1999, as a technical

specialist

6. During the course of Plaintiff’ s employment and particularly in the period of time
relatively prior to his termination on June 9,1999, Plaintiif was consistently, wrongfully and
discriminatorily passed over for project assignments for which he was viable and duly qualified,
and said work was consistently provided to younger employees

7. Plaintiff was repeatedly discriminated against by his supervisors and management and
those responsible to assigning Work projects, and said course of conduct culminated in a
discriminatory, unilateral and systematic determination that Plaintiff` was plan eligible for
termination via Defendant’s Employee Information Package on June 9, 1999, the terms and
application of which are in and of themselves, discriminatory against an employee’s age

8. Defendant’s discriminatory course of conduct against Plaintiff and other employees
similarly situated in Plaintifi"s protected age group also included Defendants conversion of the
pre-existing pension structure for employees including Plaintiii°, whereby Defendant sought to
attract younger employees at the expense and in discrimination of Plaintifl’ s existing pension
structure, in 1997, and said discriminatory actions of Defendant resulted in pecuniary loss to
Plaintiff’ s pension in violation and breach of Defendant’s fiduciary objections under the ADEA
and ERISA.

9. PlaintiH` timely filed an administrative complaint with the Equal Employment
Opportunity Commission alleging, inter alia, the Defendant terminated Plaintifl` on the basis of

his age.

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lO. As a direct result of Defendant’s discriminatory actions in violation of the ADEA,
ERISA, and the FLSA, the Plaintiff lost wages and other economic benefits of his employment
along with suffering humiliation, embarrassment and severe emotional distress

ll. The actions on part of the Defendant in the termination of the Plaintiif is a part of a
plan, practice or pattern of discriminating against older employees which affect others who are
similarly situated with the Plaintiff and have caused the Plaintiff to suffer damages in excess of
$100,000.

12. As a direct result of the Defendant’s discriminatory actions in violation of the ADEA
ERISA and the FLSA, Plaintiii` has lost economic and fringe benefits from him employment with

the Defendant.

WHEREFORE, Plaintiff, Daniel E. Monahan, request the following:

a. That the Court enter a judgment declaring the Defendant’s actions to be
unlawful and violative of the ADEA, ERISA and the FLSA;

b. That the Court award Plaintiff the amount of increased economic
and fringe benefits lost due to Defendant’s unlawth discrimination,
plus interest from the date of discrimination;

c. That the Court award Plaintiff compensatory damages as a result of
the Defendant’s violation of the ADEA, ERISA and the FLSA;

d. That the Court award Plaintiff liquidated damages in an amount equal
to the pecuniary damages lost by the Plaintiff;

e. That the Court award Plaintiff punitive damages due to the willful

misconduct of the Defendant; and,

f. That the Court award Plaintiff reasonable attorney fees and costs
associated with this action; and

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g. That the Court grant PlaintiH` additional relief as may be just and
proper.

Respectii.illy submitted,

/i

    

 

Daniel E. Monahan,
Filing Pro Se

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JURY TRIAL DEMANDED

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